      Case 2:13-cr-00012-RMP    ECF No. 41   filed 02/01/13   PageID.199 Page 1 of 1




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 2
 3                        UNITED STATES DISTRICT COURT
 4                      EASTERN DISTRICT OF WASHINGTON
 5
 6 UNITED STATES OF AMERICA,                     No. CR-13-012-RMP-3
                Plaintiff,
 7 vs.                                           ORDER GRANTING STIPULATED
 8                                               MOTION TO MODIFY
 9 SHANNON STILTNER,                             ☒      Motion Granted
10                                                      (ECF No. 39)
                        Defendant.
                                                 ☐      Action Required
11
12
13   Date of Motion hearing: 02/01/2013
14         IT IS ORDERED that the parties’ Stipulated Motion to Modify the bond
15   requirement is GRANTED as follows:
16         ☒ Execute:     ☒ $220,000      percentage bond, with
17                                        $22,000 paid in cash
18         As stipulated by the parties, Defendant may have non-case related contact
19   with her mother.
20         All other conditions in this court’s Order filed January 30, 2013, shall
21   remain.
22         DATED February 1, 2013.
23
24                            S/ CYNTHIA IMBROGNO
                        UNITED STATES MAGISTRATE JUDGE
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28
     ORDER GRANTING STIPULATED MOTION TO MODIFY - 1
